                   Case 8-16-74455-ast                       Doc 14           Filed 11/21/16                Entered 11/21/16 23:03:05



 Fill in this information to identify your case and this filing:
 Debtor 1               Anthony                                           Ross
                        First Name               Middle Name              Last Name

 Debtor 2
 (Spouse, if filing) First Name                  Middle Name              Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

 Case number            8-16-74455
                                                                                                                                    Check if this is an
 (if known)
                                                                                                                                    amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
            No. Go to Part 2.
            Yes. Where is the property?

1.1.                                                     What is the property?                               Do not deduct secured claims or exemptions. Put the
20 Ingraham lane, Hempstead,ny                           Check all that apply.                               amount of any secured claims on Schedule D:
11550 Primary                                                 Single-family home                             Creditors Who Have Claims Secured by Property.
5725 cape code lane, Lithonia,ga                              Duplex or multi-unit building                  Current value of the            Current value of the
30038 rental                                                  Condominium or cooperative                     entire property?                portion you own?
4909 terrace green way, Stone                                 Manufactured or mobile home                                $284,000.00                  $284,000.00
mountain, ga 30038 rental                                     Land
colonial- single family                                       Investment property                            Describe the nature of your ownership
                                                              Timeshare                                      interest (such as fee simple, tenancy by the
                                                              Other                                          entireties, or a life estate), if known.
County                                                                                                       SINGLE FAMILY HOME
                                                         Who has an interest in the property?
                                                         Check one.
                                                              Debtor 1 only                                       Check if this is community property
                                                              Debtor 2 only                                       (see instructions)
                                                              Debtor 1 and Debtor 2 only
                                                              At least one of the debtors and another

                                                         Other information you wish to add about this item, such as local
                                                         property identification number:

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.............................................................            $284,000.00


 Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes




Official Form 106A/B                                                   Schedule A/B: Property                                                                page 1
                   Case 8-16-74455-ast                     Doc 14           Filed 11/21/16                Entered 11/21/16 23:03:05



Debtor 1         Anthony                                        Ross                                 Case number (if known)         8-16-74455
                 First Name              Middle Name            Last Name

3.1.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                         cadillac                 Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                        Escalade suv
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                         2008
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage: 98,000                                 At least one of the debtors and another            $14,000.00                           $14,000.00
Other information:
2008 cadillac Escalade suv                                  Check if this is community property
                                                            (see instructions)
4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

4.1.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                         chevy                    Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                        tahoe
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                         2001                                                                  entire property?                       portion you own?
                                                            Debtor 1 and Debtor 2 only
Other information:                                          At least one of the debtors and another             $2,000.00                             $2,000.00
2001 chevy tahoe
suv                                                         Check if this is community property
                                                            (see instructions)
5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................            $16,000.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                           Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe............

7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games
           No
           Yes. Describe............

8.   Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
           No
           Yes. Describe............

9.   Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
               canoes and kayaks; carpentry tools; musical instruments
           No
           Yes. Describe............

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
           No
           Yes. Describe............



Official Form 106A/B                                                 Schedule A/B: Property                                                                page 2
                      Case 8-16-74455-ast                                      Doc 14                 Filed 11/21/16                           Entered 11/21/16 23:03:05



Debtor 1          Anthony                                                             Ross                                              Case number (if known)                    8-16-74455
                  First Name                        Middle Name                       Last Name

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
            No
            Yes. Describe............

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
            No
            Yes. Describe............

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
            No
            Yes. Describe............

14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................                                                  $0.00


  Part 4:            Describe Your Financial Assets
                                                                                                                                                                                             Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                             portion you own?
                                                                                                                                                                                             Do not deduct secured
                                                                                                                                                                                             claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
            No
            Yes.....................................................................................................................................................................................................
                                                                                                                                                     Cash: ...........................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

            No
            Yes..............................                    Institution name:

             17.1.        Checking account:                      bank of amaerica (Checking 9390768613)                                                                                                        $5,800.00
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
            No
            Yes.............................. Institution or issuer name:




Official Form 106A/B                                                                         Schedule A/B: Property                                                                                                    page 3
                    Case 8-16-74455-ast                          Doc 14           Filed 11/21/16      Entered 11/21/16 23:03:05



Debtor 1         Anthony                                              Ross                         Case number (if known)     8-16-74455
                 First Name                    Middle Name            Last Name

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
           No
           Yes. Give specific
           information about
           them...............................................
                                              Name of entity:                                                   % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific
           information about
           them...............................................
                                              Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.             Type of account:         Institution name:
                                           401(k) or similar plan: Lirr                                                                           $3,500.00
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                     Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them




Official Form 106A/B                                                      Schedule A/B: Property                                                      page 4
                   Case 8-16-74455-ast                     Doc 14           Filed 11/21/16       Entered 11/21/16 23:03:05



Debtor 1        Anthony                                         Ross                         Case number (if known)    8-16-74455
                First Name                  Middle Name         Last Name

Money or property owed to you?                                                                                                   Current value of the
                                                                                                                                 portion you own?
                                                                                                                                 Do not deduct secured
                                                                                                                                 claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information Federal: Tax Refund from 6,000 due 4/1/2017. Amt: $0.00                     Federal:                  $0.00
           about them, including whether
           you already filed the returns                                                                              State:                    $0.00
           and the tax years.....................................
                                                                                                                      Local:                    $0.00

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information                                                                 Alimony:                              $0.00
                                                                                                          Maintenance:                          $0.00

                                                                                                          Support:                              $0.00
                                                                                                          Divorce settlement:                   $0.00

                                                                                                          Property settlement:                  $0.00

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
           No
           Yes. Give specific information

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
           No
           Yes. Name the insurance
           company of each policy
           and list its value................   Company name:                            Beneficiary:                      Surrender or refund value:

                                                met life
                                                Type: term
                                                Beneficiaries: Doris Ross                                                                $200,000.00
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
           No
           Yes. Give specific information

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
           No
           Yes. Describe each claim..............

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
           No
           Yes. Describe each claim..............

35. Any financial assets you did not already list

           No
           Yes. Give specific information




Official Form 106A/B                                                Schedule A/B: Property                                                       page 5
                    Case 8-16-74455-ast                             Doc 14              Filed 11/21/16                    Entered 11/21/16 23:03:05



Debtor 1         Anthony                                                   Ross                                      Case number (if known)             8-16-74455
                 First Name                   Middle Name                  Last Name

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................   $209,300.00


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................

41. Inventory

            No
            Yes. Describe................

42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:

43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............

44. Any business-related property you did not already list

            No
            Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................          $0.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 6
                     Case 8-16-74455-ast                            Doc 14              Filed 11/21/16                    Entered 11/21/16 23:03:05



Debtor 1          Anthony                                                  Ross                                      Case number (if known)             8-16-74455
                  First Name                    Middle Name                Last Name

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................

48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................

50. Farm and fishing supplies, chemicals, and feed

            No
            Yes..............................

51. Any farm- and commercial fishing-related property you did not already list

            No
            Yes. Give specific
            information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................          $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

            No
            Yes. Give specific information.


54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                            $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 7
                      Case 8-16-74455-ast                                 Doc 14               Filed 11/21/16                      Entered 11/21/16 23:03:05



Debtor 1           Anthony                                                      Ross                                          Case number (if known)                8-16-74455
                   First Name                    Middle Name                    Last Name


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................   $284,000.00

56. Part 2: Total vehicles, line 5                                                                                  $16,000.00

57. Part 3: Total personal and household items, line 15                                                                      $0.00

58. Part 4: Total financial assets, line 36                                                                       $209,300.00

59. Part 5: Total business-related property, line 45                                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................           $225,300.00               property total                 +          $225,300.00



63. Total of all property on Schedule A/B.                                                                                                                                                  $509,300.00
                                                                    Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                   page 8
                Case 8-16-74455-ast                  Doc 14          Filed 11/21/16            Entered 11/21/16 23:03:05



 Fill in this information to identify your case:
 Debtor 1            Anthony                                     Ross
                     First Name           Middle Name            Last Name
 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK
                                                                                                                     Check if this is an
 Case number         8-16-74455                                                                                      amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                         $14,000.00                     $0.00           11 U.S.C. § 522(d)(2)
2008 cadillac Escalade suv (approx. 98000                                         100% of fair market
miles)                                                                            value, up to any
Line from Schedule A/B: 3.1                                                       applicable statutory
                                                                                  limit

Brief description:                                          $2,000.00                  $2,000.00          11 U.S.C. § 522(d)(2)
2001 chevy tahoe                                                                  100% of fair market
suv                                                                               value, up to any
Line from Schedule A/B:      4.1                                                  applicable statutory
                                                                                  limit




3.   Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               page 1
                Case 8-16-74455-ast                Doc 14          Filed 11/21/16        Entered 11/21/16 23:03:05



Debtor 1      Anthony                                  Ross                          Case number (if known)   8-16-74455
              First Name         Middle Name           Last Name


 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                      $3,500.00                $3,500.00          11 U.S.C. § 522(n)
Lirr                                                                         100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    21
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
                      Case 8-16-74455-ast               Doc 14         Filed 11/21/16             Entered 11/21/16 23:03:05



  Fill in this information to identify your case:
  Debtor 1              Anthony                                     Ross
                        First Name            Middle Name           Last Name

  Debtor 2
  (Spouse, if filing) First Name              Middle Name           Last Name


  United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

  Case number           8-16-74455
                                                                                                                       Check if this is an
  (if known)
                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                        12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one             Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the         Do not deduct the      that supports this     portion
        creditor's name.                                                                 value of collateral    claim                  If any

  2.1                                            Describe the property that
                                                 secures the claim:                            $45,000.00                     $0.00          $45,000.00
Nationstar Mortgage
Creditor's name
PO Box 619063
Number       Street


                                                 As of the date you file, the claim is: Check all that apply.
                                                     Contingent
Dallas                   TX      75261               Unliquidated
City                     State   ZIP Code
                                                     Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Mortgage
   to a community debt
Date debt was incurred           11/07/2009      Last 4 digits of account number        0     2    1    3
Taxes Included in Payment (per year): $2,900.00
Insurance Included in Payment (per year): $1,575.00




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                              $45,000.00

Official Form 106D                            Schedule D: Creditors Who Have Claims Secured by Property                                          page 1
                    Case 8-16-74455-ast               Doc 14          Filed 11/21/16            Entered 11/21/16 23:03:05



Debtor 1      Anthony                                     Ross                             Case number (if known)      8-16-74455
              First Name              Middle Name         Last Name


                  Additional Page                                                      Column A               Column B              Column C
  Part 1:                                                                              Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                       Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                       value of collateral    claim                 If any

  2.2                                          Describe the property that
                                               secures the claim:                           $306,616.00             $306,616.00
Rushmore                                       20 Ingraham lane,
Creditor's name
POBox 55004                                    Hempstead,ny 11550 Primary
Number     Street                              5725
Irvine, CA 2708
                                               As of the date you file, the claim is: Check all that apply.
                                                   Contingent
                                                   Unliquidated
City                    State   ZIP Code
                                                   Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Arrearage Claim
   to a community debt
Date debt was incurred          06/08/2016     Last 4 digits of account number        6     7    1    1

  2.3                                          Describe the property that
                                               secures the claim:                           $647,372.00             $284,000.00       $363,372.00
Rushmore                                       20 Ingraham lane,
Creditor's name
POBox 55004                                    Hempstead,ny 11550 Primary
Number     Street                              5725
Irvine, CA 2708
                                               As of the date you file, the claim is: Check all that apply.
                                                   Contingent
                                                   Unliquidated
City                    State   ZIP Code
                                                   Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Mortgage
   to a community debt
Date debt was incurred          06/08/2016     Last 4 digits of account number        6     7    1    1
Taxes Included in Payment (per year): $11,000.00




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                           $953,988.00

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 2
                    Case 8-16-74455-ast               Doc 14          Filed 11/21/16            Entered 11/21/16 23:03:05



Debtor 1      Anthony                                     Ross                             Case number (if known)      8-16-74455
              First Name              Middle Name         Last Name


                  Additional Page                                                      Column A               Column B              Column C
  Part 1:                                                                              Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                       Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                       value of collateral    claim                 If any

  2.4                                          Describe the property that
                                               secures the claim:                            $14,539.00              $14,000.00           $539.00
Wells Fargo                                    2008 cadillac Escalade suv
Creditor's name
p.o.box 25341
Number     Street


                                               As of the date you file, the claim is: Check all that apply.
                                                   Contingent
Santa Ana               CA      92799              Unliquidated
City                    State   ZIP Code
                                                   Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Car Loan
   to a community debt
Date debt was incurred          08/09/2016     Last 4 digits of account number        9     7    2    6




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                            $14,539.00

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                        $1,013,527.00

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 3
                Case 8-16-74455-ast                   Doc 14         Filed 11/21/16             Entered 11/21/16 23:03:05



 Fill in this information to identify your case:
 Debtor 1           Anthony                                       Ross
                    First Name             Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name            Middle Name            Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

 Case number        8-16-74455
                                                                                                                      Check if this is an
 (if known)
                                                                                                                      amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


 Part 1:       List All of Your PRIORITY Unsecured Claims
1.   Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.
          Yes.

2.   List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
     claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
     show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
     more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
     claim, list the other creditors in Part 3.

     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                    Total claim       Priority              Nonpriority
                                                                                                                      amount                amount




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1
                  Case 8-16-74455-ast                     Doc 14          Filed 11/21/16            Entered 11/21/16 23:03:05



Debtor 1       Anthony                                        Ross                              Case number (if known)      8-16-74455
               First Name               Middle Name           Last Name


  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with you other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                          Unknown
AMERICAN SERVICEING                                         Last 4 digits of account number         5 6 0 4
Nonpriority Creditor's Name
                                                            When was the debt incurred?           1/1/2007-11/10/2016
POBOX 10328
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
DES MOINES                      IA       50306
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               other
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                            $714.00
CHASE CARD                                                  Last 4 digits of account number         2 0 4 1
Nonpriority Creditor's Name
                                                            When was the debt incurred?           5/1/1999-11/10/2016
POBOX 15298
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
WILMINGTON                      DE       19850
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               credit card
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 2
                  Case 8-16-74455-ast                   Doc 14          Filed 11/21/16          Entered 11/21/16 23:03:05



Debtor 1       Anthony                                      Ross                            Case number (if known)       8-16-74455
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

   4.3                                                                                                                                   $5,200.00
DEKALB COUNTY UTILITY                                     Last 4 digits of account number      8 7 0 2
Nonpriority Creditor's Name
                                                          When was the debt incurred?        1/1/2007-11/10/2016
POBOX 105942
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
                                                              Disputed
ATLANTA                       GA       30348
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                             Student loans
   Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                             that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                             Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                             Other. Specify
       Check if this claim is for a community debt            utility bill
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                                   Unknown
DEPARTMENT OF US TREASURY                                 Last 4 digits of account number       X    X    X    X
Nonpriority Creditor's Name
                                                          When was the debt incurred?
XXXX
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
                                                              Disputed
AUSTIN                        TX       73301
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                             Student loans
   Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                             that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                             Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                             Other. Specify
       Check if this claim is for a community debt            other
Is the claim subject to offset?
     No
     Yes

   4.5                                                                                                                                   Unknown
EQUIFAX                                                   Last 4 digits of account number      X X X X
Nonpriority Creditor's Name
                                                          When was the debt incurred?        1/2/2007-11/10/2016
POBOX 740241
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
                                                              Disputed
ATLANTA                       GA       30374
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                             Student loans
   Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                             that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                             Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                             Other. Specify
       Check if this claim is for a community debt            other
Is the claim subject to offset?
     No
     Yes



Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 3
                  Case 8-16-74455-ast                   Doc 14          Filed 11/21/16          Entered 11/21/16 23:03:05



Debtor 1       Anthony                                      Ross                            Case number (if known)       8-16-74455
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

   4.6                                                                                                                                   Unknown
EXPERIAN                                                  Last 4 digits of account number      X X X X
Nonpriority Creditor's Name
                                                          When was the debt incurred?        1/1/2007-11/10/2016
POBOX 2002
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
                                                              Disputed
ALLEN                         TX       75013
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                             Student loans
   Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                             that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                             Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                             Other. Specify
       Check if this claim is for a community debt            other
Is the claim subject to offset?
     No
     Yes

   4.7                                                                                                                                 $45,000.00
NATIONSTAR MORTGAGE                                       Last 4 digits of account number      X X X X
Nonpriority Creditor's Name
                                                          When was the debt incurred?        5/1/2008-11/10/2016
POBOX 199111
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
                                                              Disputed
DALLAS                        TX       75235
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                             Student loans
   Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                             that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                             Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                             Other. Specify
       Check if this claim is for a community debt            other
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                                 $44,308.00
NATIONSTAR MORTGAGE                                       Last 4 digits of account number      5 X X X
Nonpriority Creditor's Name
                                                          When was the debt incurred?        5/1/2008-11/10/2016
350 HIGHLAND DR
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
                                                              Disputed
LEWISVILLE                    TX       75067
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                             Student loans
   Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                             that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                             Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                             Other. Specify
       Check if this claim is for a community debt            other
Is the claim subject to offset?
     No
     Yes



Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 4
                  Case 8-16-74455-ast                   Doc 14          Filed 11/21/16          Entered 11/21/16 23:03:05



Debtor 1       Anthony                                      Ross                            Case number (if known)       8-16-74455
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

   4.9                                                                                                                                 $35,609.00
OCWEN LOAN SERVICES                                       Last 4 digits of account number      9 X X X
Nonpriority Creditor's Name
                                                          When was the debt incurred?        1/1/2007-11/10/2016
12650 INGENUITY DR
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
                                                              Disputed
ORLANDO                       FL       32826
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                             Student loans
   Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                             that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                             Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                             Other. Specify
       Check if this claim is for a community debt            other
Is the claim subject to offset?
     No
     Yes

  4.10                                                                                                                                   Unknown
PNC MORTGAGE                                              Last 4 digits of account number      X X X X
Nonpriority Creditor's Name
                                                          When was the debt incurred?        11/10/2016-11/10/2016
500 W JEFFERSON ST
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
                                                              Disputed
LOUISVILLE                    KY       40202
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                             Student loans
   Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                             that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                             Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                             Other. Specify
       Check if this claim is for a community debt            other
Is the claim subject to offset?
     No
     Yes

  4.11                                                                                                                                   Unknown
SELECT PORTFOLIO SERVICES                                 Last 4 digits of account number      X X X X
Nonpriority Creditor's Name
                                                          When was the debt incurred?        2/1/2009-11/10/2016
POBOX 65250
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
                                                              Disputed
SALT LAKE CITY                UT       84165
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                             Student loans
   Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                             that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                             Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                             Other. Specify
       Check if this claim is for a community debt            credit card
Is the claim subject to offset?
     No
     Yes



Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 5
                  Case 8-16-74455-ast                   Doc 14          Filed 11/21/16          Entered 11/21/16 23:03:05



Debtor 1       Anthony                                      Ross                            Case number (if known)       8-16-74455
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

  4.12                                                                                                                                   Unknown
TRANSUNION                                                Last 4 digits of account number      X X X X
Nonpriority Creditor's Name
                                                          When was the debt incurred?        1/1/2007-11/10/2016
POBOX 2000
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
                                                              Disputed
CHESTER                       PA       19016
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                             Student loans
   Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                             that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                             Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                             Other. Specify
       Check if this claim is for a community debt            other
Is the claim subject to offset?
     No
     Yes

  4.13                                                                                                                                   Unknown
US BANK TRUSTEE                                           Last 4 digits of account number      X X X X
Nonpriority Creditor's Name
                                                          When was the debt incurred?        1/1/2007-11/10/2016
20 INGRAHAM LANE
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
                                                              Disputed
HEMPSTEAD                     NY       11550
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                             Student loans
   Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                             that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                             Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                             Other. Specify
       Check if this claim is for a community debt            other
Is the claim subject to offset?
     No
     Yes

  4.14                                                                                                                                     $288.00
usaa savings bank                                         Last 4 digits of account number      5 4 9 1
Nonpriority Creditor's Name
                                                          When was the debt incurred?        7/1/2014-11/8/2016
POBOX 47504
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
                                                              Disputed
SAN ANTONIO                   TX       78265
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                             Student loans
   Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                             that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                             Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                             Other. Specify
       Check if this claim is for a community debt            credit card
Is the claim subject to offset?
     No
     Yes



Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 6
                  Case 8-16-74455-ast                   Doc 14          Filed 11/21/16          Entered 11/21/16 23:03:05



Debtor 1       Anthony                                      Ross                            Case number (if known)       8-16-74455
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

  4.15                                                                                                                                 $15,000.00
WELLS FARGO                                               Last 4 digits of account number      4 X X X
Nonpriority Creditor's Name
                                                          When was the debt incurred?        8/28/2014-11/10/2016
POBOX 5943
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
                                                              Disputed
SIOUX FALLS                   SD       57117
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                             Student loans
   Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                             that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                             Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                             Other. Specify
       Check if this claim is for a community debt            other
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 7
                 Case 8-16-74455-ast                   Doc 14          Filed 11/21/16         Entered 11/21/16 23:03:05



Debtor 1       Anthony                                     Ross                           Case number (if known)     8-16-74455
               First Name               Middle Name        Last Name


  Part 3:        List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.


NA                                                          On which entry in Part 1 or Part 2 did you list the original creditor?
Name
NA                                                          Line   4.15 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
NA, NA                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number

City                            State      ZIP Code


NA                                                          On which entry in Part 1 or Part 2 did you list the original creditor?
Name
NA                                                          Line   4.14 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
NA, NA                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number

City                            State      ZIP Code


NA                                                          On which entry in Part 1 or Part 2 did you list the original creditor?
Name
NA                                                          Line   4.13 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
NA, NA                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number

City                            State      ZIP Code


NA                                                          On which entry in Part 1 or Part 2 did you list the original creditor?
Name
NA                                                          Line   4.12 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
NA, NA                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number

City                            State      ZIP Code


NA                                                          On which entry in Part 1 or Part 2 did you list the original creditor?
Name
NA                                                          Line   4.11 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
NA, NA                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number

City                            State      ZIP Code




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                           page 8
                Case 8-16-74455-ast              Doc 14          Filed 11/21/16         Entered 11/21/16 23:03:05



Debtor 1     Anthony                                 Ross                           Case number (if known)    8-16-74455
             First Name           Middle Name        Last Name


  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

NA                                                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
NA                                                    Line   4.10 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
NA, NA                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims

                                                      Last 4 digits of account number

City                      State      ZIP Code


NA                                                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
NA                                                    Line   4.7 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
NA, NA                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims

                                                      Last 4 digits of account number

City                      State      ZIP Code


NA                                                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
NA                                                    Line   4.6 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
NA, NA                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims

                                                      Last 4 digits of account number

City                      State      ZIP Code


NA                                                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
NA                                                    Line   4.5 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
NA, NA                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims

                                                      Last 4 digits of account number

City                      State      ZIP Code


NA                                                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
NA                                                    Line   4.4 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
NA, NA                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims

                                                      Last 4 digits of account number

City                      State      ZIP Code


NA                                                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
NA                                                    Line   4.2 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
NA, NA                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims

                                                      Last 4 digits of account number

City                      State      ZIP Code




Official Form 106E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                          page 9
                 Case 8-16-74455-ast                      Doc 14            Filed 11/21/16     Entered 11/21/16 23:03:05



Debtor 1       Anthony                                          Ross                       Case number (if known)        8-16-74455
               First Name               Middle Name             Last Name


 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                                   Total claim

Total claims        6a. Domestic support obligations                                                     6a.                     $0.00
from Part 1
                    6b. Taxes and certain other debts you owe the government                             6b.                     $0.00

                    6c. Claims for death or personal injury while you were intoxicated                   6c.                     $0.00

                    6d. Other. Add all other priority unsecured claims. Write that amount here.          6d.   +                 $0.00


                    6e. Total.       Add lines 6a through 6d.                                            6d.                     $0.00




                                                                                                                   Total claim

Total claims        6f.     Student loans                                                                6f.                     $0.00
from Part 2
                    6g. Obligations arising out of a separation agreement or divorce                     6g.                     $0.00
                        that you did not report as priority claims

                    6h. Debts to pension or profit-sharing plans, and other similar                      6h.                     $0.00
                        debts

                    6i.     Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +        $146,119.00


                    6j.     Total.   Add lines 6f through 6i.                                            6j.            $146,119.00




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                      page 10
                Case 8-16-74455-ast                  Doc 14         Filed 11/21/16             Entered 11/21/16 23:03:05



 Fill in this information to identify your case:
 Debtor 1            Anthony                                     Ross
                     First Name           Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

 Case number         8-16-74455
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.   Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.   List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
     is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
     executory contracts and unexpired leases.

        Person or company with whom you have the contract or lease                   State what the contract or lease is for




Official Form 106G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
                Case 8-16-74455-ast                 Doc 14          Filed 11/21/16              Entered 11/21/16 23:03:05



 Fill in this information to identify your case:
 Debtor 1            Anthony                                     Ross
                     First Name          Middle Name             Last Name

 Debtor 2
 (Spouse, if filing) First Name          Middle Name             Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

 Case number         8-16-74455
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.   Do you have any codebtors?       (If you are filing a joint case, do not list either spouse as a codebtor.)
         No
         Yes

2.   Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
     include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
              No
              Yes
3.   In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
     person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
     creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
     Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt

                                                                                             Check all schedules that apply:




Official Form 106H                                         Schedule H: Your Codebtors                                                     page 1
                  Case 8-16-74455-ast                Doc 14           Filed 11/21/16                 Entered 11/21/16 23:03:05



 Fill in this information to identify your case:
     Debtor 1              Anthony                                     Ross
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2                                                                                                   An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                A supplement showing postpetition
     United States Bankruptcy Court for the:   EASTERN DISTRICT OF NEW YORK
                                                                                                                chapter 13 income as of the following date:
     Case number           8-16-74455
     (if known)
                                                                                                                MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation             MAINTAINCE
      Include part-time, seasonal,
      or self-employed work.            Employer's name        LIRR

      Occupation may include            Employer's address     93-02 STUPHIN BLVD
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               JAMAICA                      NY       11435
                                                               City                         State    Zip Code     City                   State   Zip Code

                                        How long employed there?        5 YRS

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                  $4,320.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                      3.   +               $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.               $4,320.00




Official Form 106I                                            Schedule I: Your Income                                                                page 1
                   Case 8-16-74455-ast                               Doc 14               Filed 11/21/16                     Entered 11/21/16 23:03:05



Debtor 1 Anthony                                                                 Ross                                            Case number (if known)       8-16-74455
           First Name                         Middle Name                        Last Name
                                                                                                                    For Debtor 1                 For Debtor 2 or
                                                                                                                                                 non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.              $4,320.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                      5a.                  $0.00
     5b. Mandatory contributions for retirement plans                                                       5b.                  $0.00
     5c. Voluntary contributions for retirement plans                                                       5c.                  $0.00
     5d. Required repayments of retirement fund loans                                                       5d.                  $0.00
     5e. Insurance                                                                                          5e.                  $0.00
     5f. Domestic support obligations                                                                       5f.                  $0.00
     5g. Union dues                                                                                         5g.                  $0.00
     5h. Other deductions.
          Specify:                                                                                          5h. +                $0.00
6.   Add the payroll deductions.                 Add lines 5a + 5b + 5c + 5d + 5e + 5f +                    6.                   $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                         Subtract line 6 from line 4.            7.            $4,320.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                               8a.                  $0.00
          business, profession, or farm
           Attach a statement for each property and business showing
           gross receipts, ordinary and necessary business expenses, and
           the total monthly net income.

     8b. Interest and dividends                                                                             8b.                  $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                        8c.                  $0.00
         dependent regularly receive
           Include alimony, spousal support, child support, maintenance,
           divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                          8d.                  $0.00
     8e. Social Security                                                                                    8e.                  $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                           8f.               $0.00
     8g. Pension or retirement income                                                                       8g.           $2,500.00
     8h. Other monthly income.
         Specify: RENTAL                                                                                    8h. +            $800.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                 9.            $3,300.00

10. Calculate monthly income. Add line 7 + line 9.                                                          10.           $7,620.00          +                       =       $7,620.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                                11.     +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                                12.             $7,620.00
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                       Combined
                                                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           YEARLY INCREASE
           Yes. Explain:




Official Form 106I                                                               Schedule I: Your Income                                                                          page 2
                  Case 8-16-74455-ast                   Doc 14          Filed 11/21/16             Entered 11/21/16 23:03:05



 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Anthony                                       Ross                                An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    EASTERN DISTRICT OF NEW YORK                                   MM / DD / YYYY
     Case number           8-16-74455
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                                                                           Yes
      Do not state the dependents'
                                                                                                                                           No
      names.
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                    $3,800.00
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.

      4d. Homeowner's association or condominium dues                                                                4d.




 Official Form 106J                                             Schedule J: Your Expenses                                                        page 1
                  Case 8-16-74455-ast               Doc 14        Filed 11/21/16       Entered 11/21/16 23:03:05



Debtor 1 Anthony                                           Ross                         Case number (if known)   8-16-74455
            First Name              Middle Name            Last Name

                                                                                                           Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                      5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                              6a.                      $400.00
     6b. Water, sewer, garbage collection                                                            6b.                      $200.00
     6c. Telephone, cell phone, Internet, satellite, and                                             6c.                      $150.00
         cable services
     6d. Other. Specify:                                                                             6d.                      $188.00
7.   Food and housekeeping supplies                                                                  7.                       $400.00
8.   Childcare and children's education costs                                                        8.

9.   Clothing, laundry, and dry cleaning                                                             9.

10. Personal care products and services                                                              10.

11. Medical and dental expenses                                                                      11.

12. Transportation. Include gas, maintenance, bus or train                                           12.                      $150.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                    13.                       $50.00
    magazines, and books
14. Charitable contributions and religious donations                                                 14.                      $500.00
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.    Life insurance                                                                          15a.                      $85.00
     15b.    Health insurance                                                                        15b.

     15c.    Vehicle insurance                                                                       15c.                     $350.00
     15d.    Other insurance. Specify:                                                               15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                         16.

17. Installment or lease payments:

     17a.    Car payments for Vehicle 1                                                              17a.                     $479.00
     17b.    Car payments for Vehicle 2                                                              17b.

     17c.    Other. Specify:                                                                         17c.

     17d.    Other. Specify:                                                                         17d.

18. Your payments of alimony, maintenance, and support that you did not report as                    18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                         19.




 Official Form 106J                                        Schedule J: Your Expenses                                             page 2
                 Case 8-16-74455-ast                Doc 14         Filed 11/21/16              Entered 11/21/16 23:03:05



Debtor 1 Anthony                                            Ross                                Case number (if known)   8-16-74455
           First Name                 Middle Name           Last Name

20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a.    Mortgages on other property                                                                      20a.

    20b.    Real estate taxes                                                                                20b.

    20c.    Property, homeowner's, or renter's insurance                                                     20c.

    20d.    Maintenance, repair, and upkeep expenses                                                         20d.

    20e.    Homeowner's association or condominium dues                                                      20e.

21. Other. Specify:                                                                                          21.    +
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.                 $6,752.00
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.                 $6,752.00

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.                 $7,620.00
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –             $6,752.00
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.                     $868.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                 None.




 Official Form 106J                                         Schedule J: Your Expenses                                                    page 3
                   Case 8-16-74455-ast                                Doc 14              Filed 11/21/16                      Entered 11/21/16 23:03:05



 Fill in this information to identify your case:
 Debtor 1                Anthony                                                     Ross
                         First Name                    Middle Name                   Last Name

 Debtor 2
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

 Case number             8-16-74455
                                                                                                                                                           Check if this is an
 (if known)
                                                                                                                                                           amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                            $284,000.00
     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................


                                                                                                                                                                       $225,300.00
     1b. Copy line 62, Total personal property, from Schedule A/B.........................................................................................................................................................


                                                                                                                                                                            $509,300.00
     1c. Copy line 63, Total of all property on Schedule A/B....................................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                         Your liabilities
                                                                                                                                                                         Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                      $1,013,527.00
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                  $0.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +               $146,119.00
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                    Your total liabilities                      $1,159,646.00




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                         $7,620.00
     Copy your combined monthly income from line 12 of Schedule I.......................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                  $6,752.00




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                         page 1
                Case 8-16-74455-ast                   Doc 14          Filed 11/21/16            Entered 11/21/16 23:03:05



Debtor 1      Anthony                                     Ross                             Case number (if known)     8-16-74455
              First Name            Middle Name           Last Name


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                     $2,880.00


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                                 $0.00


     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                         $0.00


     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                               $0.00


     9d. Student loans. (Copy line 6f.)                                                                                $0.00


     9e. Obligations arising out of a separation agreement or divorce that you did not report as                       $0.00
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +                  $0.00


     9g. Total.    Add lines 9a through 9f.                                                                            $0.00




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
                Case 8-16-74455-ast               Doc 14        Filed 11/21/16           Entered 11/21/16 23:03:05



 Fill in this information to identify your case:
 Debtor 1           Anthony                                  Ross
                    First Name          Middle Name          Last Name

 Debtor 2
 (Spouse, if filing) First Name         Middle Name          Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

 Case number        8-16-74455
                                                                                                             Check if this is an
 (if known)
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Anthony Ross                                     X
        Anthony Ross, Debtor 1                                 Signature of Debtor 2

        Date 11/11/2016                                        Date
             MM / DD / YYYY                                           MM / DD / YYYY




Official Form 106Dec                        Declaration About an Individual Debtor's Schedules                                         page 1
                Case 8-16-74455-ast                   Doc 14         Filed 11/21/16           Entered 11/21/16 23:03:05



 Fill in this information to identify your case:
 Debtor 1           Anthony                                      Ross
                    First Name              Middle Name          Last Name

 Debtor 2
 (Spouse, if filing) First Name             Middle Name          Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

 Case number        8-16-74455
                                                                                                                     Check if this is an
 (if known)
                                                                                                                     amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                           04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
        Married
        Not married

2.   During the last 3 years, have you lived anywhere other than where you live now?
         No
         Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
         No
         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2:       Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

         No
         Yes. Fill in the details.

                                                    Debtor 1                                             Debtor 2

                                                  Sources of income           Gross income           Sources of income             Gross income
                                                  Check all that apply.       (before deductions     Check all that apply.         (before deductions
                                                                              and exclusions                                       and exclusions

From January 1 of the current year until              Wages, commissions,            $54,000.00            Wages, commissions,
the date you filed for bankruptcy:                    bonuses, tips                                        bonuses, tips
                                                      Operating a business                                 Operating a business


For the last calendar year:                           Wages, commissions,            $54,000.00            Wages, commissions,
                                                      bonuses, tips                                        bonuses, tips
(January 1 to December 31, 2015 )
                                  YYYY                Operating a business                                 Operating a business


For the calendar year before that:                    Wages, commissions,            $52,000.00            Wages, commissions,
                                                      bonuses, tips                                        bonuses, tips
(January 1 to December 31, 2014 )
                                  YYYY                Operating a business                                 Operating a business


Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 1
                    Case 8-16-74455-ast                  Doc 14           Filed 11/21/16          Entered 11/21/16 23:03:05



Debtor 1         Anthony                                      Ross                            Case number (if known)      8-16-74455
                 First Name              Middle Name          Last Name

5.     Did you receive any other income during this year or the two previous calendar years?
       Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
       unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
       and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
       Debtor 1.

       List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.


  Part 3:         List Certain Payments You Made Before You Filed for Bankruptcy
6.     Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

           No.      Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                    "incurred by an individual primarily for a personal, family, or household purpose."

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                            total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                            child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                    * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                            creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                            Also, do not include payments to an attorney for this bankruptcy case.

                                                              Dates of       Total amount         Amount you          Was this payment for...
                                                              payment        paid                 still owe
NATIONSTAR MORTGAGE                                           11/1/2016           $535.00            $45,000.00             Mortgage
Creditor's name                                                                                                             Car
POBOX 619063                                                                                                                Credit card
Number     Street
                                                                                                                            Loan repayment
                                                                                                                            Suppliers or vendors
DALLAS                              TX       75261                                                                          Other
City                                State    ZIP Code

                                                              Dates of       Total amount         Amount you          Was this payment for...
                                                              payment        paid                 still owe
WELLS FARGO                                                   11/12/2016          $479.00            $14,500.00             Mortgage
Creditor's name                                                                                                             Car
POBOX 25341                                                                                                                 Credit card
Number     Street
                                                                                                                            Loan repayment
                                                                                                                            Suppliers or vendors
SANTA ANA                           CA       92799                                                                          Other
City                                State    ZIP Code




Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 2
                     Case 8-16-74455-ast                     Doc 14         Filed 11/21/16         Entered 11/21/16 23:03:05



Debtor 1       Anthony                                          Ross                           Case number (if known)      8-16-74455
               First Name               Middle Name             Last Name

                                                                Dates of       Total amount       Amount you            Was this payment for...
                                                                payment        paid               still owe
RUSHMORE                                                        11/1/2016         $3,900.00         $647,372.97            Mortgage
Creditor's name                                                                                                            Car
POBOX 55004                                                                                                                Credit card
Number      Street
                                                                                                                           Loan repayment
                                                                                                                           Suppliers or vendors
IRVINE                             CA           92619                                                                      Other
City                               State        ZIP Code

7.     Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
       Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
       corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
       agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
       such as child support and alimony.

           No
           Yes. List all payments to an insider.

8.     Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
       benefited an insider?
       Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments that benefited an insider.




  Part 4:         Identify Legal Actions, Repossessions, and Foreclosures
9.     Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
       List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
       modifications, and contract disputes.

           No
           Yes. Fill in the details.

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.

                                                                Describe the property                            Date              Value of the property
OCWEN                                                           144,000                                               7/10/2015
Creditor's Name

POBOX 24646
Number      Street                                              Explain what happened
                                                                   Property was repossessed.
                                                                   Property was foreclosed.
WEST PALM BEACH                        FL         33416            Property was garnished.
City                                   State      ZIP Code         Property was attached, seized, or levied.




Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 3
                   Case 8-16-74455-ast                    Doc 14           Filed 11/21/16      Entered 11/21/16 23:03:05



Debtor 1         Anthony                                       Ross                        Case number (if known)   8-16-74455
                 First Name            Middle Name             Last Name

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

           No
           Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

           No
           Yes

 Part 5:          List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No
           Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


           No
           Yes. Fill in the details for each gift or contribution.

 Part 6:          List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

           No
           Yes. Fill in the details.

 Part 7:          List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

           No
           Yes. Fill in the details.

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                      page 4
                  Case 8-16-74455-ast                  Doc 14          Filed 11/21/16         Entered 11/21/16 23:03:05



Debtor 1       Anthony                                     Ross                           Case number (if known)    8-16-74455
               First Name              Middle Name         Last Name

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
    Do not include gifts and transfers that you have already listed on this statement.


           No
           Yes. Fill in the details.

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.

 Part 8:         List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.

           No
           Yes. Fill in the details.

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

           No
           Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
       Yes. Fill in the details.

 Part 9:         Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

           No
           Yes. Fill in the details.




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 5
                  Case 8-16-74455-ast                   Doc 14           Filed 11/21/16             Entered 11/21/16 23:03:05



Debtor 1       Anthony                                       Ross                              Case number (if known)         8-16-74455
               First Name              Middle Name           Last Name


 Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

   Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
   hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
   including statutes or regulations controlling the cleanup of these substances, wastes, or material.
   Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
   utilize it or used to own, operate, or utilize it, including disposal sites.

   Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
   substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?


           No
           Yes. Fill in the details.

25. Have you notified any governmental unit of any release of hazardous material?
       No
       Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

           No
           Yes. Fill in the details.

 Part 11:        Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                A member of a limited liability company (LLC) or limited liability partnership (LLP)
                A partner in a partnership
                An officer, director, or managing executive of a corporation
                An owner of at least 5% of the voting or equity securities of a corporation

           No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 6
               Case 8-16-74455-ast               Doc 14           Filed 11/21/16        Entered 11/21/16 23:03:05



Debtor 1     Anthony                                  Ross                          Case number (if known)    8-16-74455
             First Name          Middle Name          Last Name


 Part 12:     Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



X /s/ Anthony Ross                                    X
   Anthony Ross, Debtor 1                                 Signature of Debtor 2

   Date     11/11/2016                                    Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    No
    Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    No
    Yes. Name of person                                                                   Attach the Bankruptcy Petition Preparer's Notice,
                                                                                          Declaration, and Signature (Official Form 119).




Official Form 107                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 7
                   Case 8-16-74455-ast               Doc 14          Filed 11/21/16            Entered 11/21/16 23:03:05



 Fill in this information to identify your case:
 Debtor 1              Anthony                                    Ross
                       First Name         Middle Name             Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name             Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

 Case number           8-16-74455
                                                                                                                               Check if this is an
 (if known)
                                                                                                                               amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                               12/15

If you are an individual filing under chapter 7, you must fill out this form if:

     creditors have claims secured by your property, or

     you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).


 Part 1:           List Your Creditors Who Hold Secured Claims

1.    For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D),
      fill in the information below.

      Identify the creditor and the property that is collateral          What do you intend to do with the           Did you claim the property
                                                                         property that secures a debt?               as exempt on Schedule C?

      Creditor's        Nationstar Mortgage                                   Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of                                                          Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
      securing debt:                                                          Retain the property and [explain]:


      Creditor's        Rushmore                                              Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    20 Ingraham lane, Hempstead,ny                        Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
                        11550 Primary
      securing debt:                                                          Retain the property and [explain]:
                        5725


      Creditor's        Rushmore                                              Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    20 Ingraham lane, Hempstead,ny                        Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
                        11550 Primary
      securing debt:                                                          Retain the property and [explain]:
                        5725




Official Form 108                         Statement of Intention for Individuals Filing Under Chapter 7                                     page 1
                 Case 8-16-74455-ast               Doc 14          Filed 11/21/16          Entered 11/21/16 23:03:05



Debtor 1     Anthony                                   Ross                            Case number (if known)     8-16-74455
             First Name           Middle Name          Last Name


    Identify the creditor and the property that is collateral        What do you intend to do with the            Did you claim the property
                                                                     property that secures a debt?                as exempt on Schedule C?
    Creditor's       Wells Fargo                                          Surrender the property.                      No
    name:                                                                 Retain the property and redeem it.           Yes
    Description of   2008 cadillac Escalade suv                           Retain the property and enter into a
    property                                                              Reaffirmation Agreement.
    securing debt:                                                        Retain the property and [explain]:



 Part 2:         List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

    Describe your unexpired personal property leases                                                             Will this lease be assumed?

    None.


 Part 3:         Sign Below

   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and
   personal property that is subject to an unexpired lease.

X /s/ Anthony Ross                                     X
   Anthony Ross, Debtor 1                                  Signature of Debtor 2

   Date 11/11/2016                                         Date
        MM / DD / YYYY                                             MM / DD / YYYY




Official Form 108                       Statement of Intention for Individuals Filing Under Chapter 7                                   page 2
                      Case 8-16-74455-ast                               Doc 14               Filed 11/21/16                      Entered 11/21/16 23:03:05



B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                           EASTERN DISTRICT OF NEW YORK
                                                                CENTRAL ISLIP DIVISION
In re Anthony Ross                                                                                                                  Case No.           8-16-74455

                                                                                                                                    Chapter            7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                                        $0.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                                       $0.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                        $0.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
              Case 8-16-74455-ast             Doc 14        Filed 11/21/16         Entered 11/21/16 23:03:05



B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.


                   11/11/2016                         /s/ Benjamin C. Rosenberg
                      Date                            Benjamin C. Rosenberg                      Bar No. 2402006
                                                      Benjamin C. Rosenberg, Esq.
                                                      859 Crestview Avenue
                                                      Valley Stream, New York 11581
                                                      Phone: (516) 884-6265 / Fax: (866) 650-7868




    /s/ Anthony Ross
   Anthony Ross
                Case 8-16-74455-ast           Doc 14       Filed 11/21/16         Entered 11/21/16 23:03:05



                                      UNITED STATES BANKRUPTCY COURT
                                       EASTERN DISTRICT OF NEW YORK
                                            CENTRAL ISLIP DIVISION
  IN RE:   Anthony Ross                                                            CASE NO    8-16-74455

                                                                                  CHAPTER     7

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 11/11/2016                                          Signature    /s/ Anthony Ross
                                                                     Anthony Ross



Date                                                     Signature
Case 8-16-74455-ast    Doc 14    Filed 11/21/16   Entered 11/21/16 23:03:05




                      AMERICAN SERVICEING
                      POBOX 10328
                      DES MOINES, IA 50306



                      CHASE CARD
                      POBOX 15298
                      WILMINGTON, DE 19850



                      DEKALB COUNTY UTILITY
                      POBOX 105942
                      ATLANTA, GA 30348



                      DEPARTMENT OF US TREASURY
                      XXXX
                      AUSTIN, TX 73301



                      EQUIFAX
                      POBOX 740241
                      ATLANTA, GA 30374



                      EXPERIAN
                      POBOX 2002
                      ALLEN, TX 75013



                      NA
                      NA
                      NA,   NA



                      Nationstar Mortgage
                      PO Box 619063
                      Dallas, TX 75261



                      NATIONSTAR MORTGAGE
                      POBOX 199111
                      DALLAS, TX 75235
Case 8-16-74455-ast    Doc 14   Filed 11/21/16    Entered 11/21/16 23:03:05




                      NATIONSTAR MORTGAGE
                      350 HIGHLAND DR
                      LEWISVILLE, TX 75067



                      OCWEN LOAN SERVICES
                      12650 INGENUITY DR
                      ORLANDO, FL 32826



                      PNC MORTGAGE
                      500 W JEFFERSON ST
                      LOUISVILLE, KY 40202



                      Rushmore
                      POBox 55004
                      Irvine, CA 2708



                      SELECT PORTFOLIO SERVICES
                      POBOX 65250
                      SALT LAKE CITY, UT 84165



                      TRANSUNION
                      POBOX 2000
                      CHESTER, PA 19016



                      US BANK TRUSTEE
                      20 INGRAHAM LANE
                      HEMPSTEAD, NY 11550



                      usaa savings bank
                      POBOX 47504
                      SAN ANTONIO, TX 78265



                      Wells Fargo
                      p.o.box 25341
                      Santa Ana, CA 92799
Case 8-16-74455-ast    Doc 14   Filed 11/21/16   Entered 11/21/16 23:03:05




                      WELLS FARGO
                      POBOX 5943
                      SIOUX FALLS, SD 57117
                Case 8-16-74455-ast                 Doc 14        Filed 11/21/16            Entered 11/21/16 23:03:05



 Fill in this information to identify your case:                                             Check one box only as directed in this
                                                                                             form and in Form 122A-1Supp:
 Debtor 1           Anthony                                    Ross
                    First Name           Middle Name           Last Name                       1. There is no presumption of abuse.

 Debtor 2                                                                                      2. The calculation to determine if a presumption
 (Spouse, if filing) First Name          Middle Name           Last Name                          of abuse applies will be made under Chapter 7
                                                                                                  Means Test Calculation (Official Form 122A-2).
 United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK
                                                                                               3. The Means Test does not apply now because
 Case number        8-16-74455                                                                    of qualified military service but it could apply
 (if known)                                                                                       later.

                                                                                                 Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                            12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known). If you believe that you
are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form
122A-1Supp) with this form.


 Part 1:       Calculate Your Current Monthly Income

1.   What is your marital and filing status? Check one only.

          Not married. Fill out Column A, lines 2-11.

          Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

          Married and your spouse is NOT filing with you. You and your spouse are:

               Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

               Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you
               declare under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you
               and your spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).


     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                            Column A        Column B
                                                                                            Debtor 1        Debtor 2 or
                                                                                                            non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions                      $2,880.00
     (before all payroll deductions).

3.   Alimony and maintenance payments. Do not include payments from a spouse                       $0.00
     if Column B is filled in.

4.   All amounts from any source which are regularly paid for household                            $0.00
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Include regular contributions from
     a spouse only if Column B is not filled in. Do not include payments you listed
     on line 3.




Official Form 122A-1                         Chapter 7 Statement of Your Current Monthly Income                                               page 1
                    Case 8-16-74455-ast                                     Doc 14                Filed 11/21/16                          Entered 11/21/16 23:03:05



Debtor 1        Anthony                                                            Ross                                             Case number (if known) 8-16-74455
                First Name                        Middle Name                      Last Name

                                                                                                                                         Column A      Column B
                                                                                                                                         Debtor 1      Debtor 2 or
                                                                                                                                                       non-filing spouse

5.   Net income from operating a business, profession, or farm

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all                                            $0.00
     deductions)

     Ordinary and necessary operating                     –                $0.00         –
     expenses
                                                                                                                       Copy
     Net monthly income from a business,                                   $0.00                                       here                    $0.00
     profession, or farm

6.   Net income from rental and other real property

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all                                            $0.00
     deductions)

     Ordinary and necessary operating                     –                $0.00         –
     expenses
                                                                                                                       Copy
     Net monthly income from rental or                                     $0.00                                       here                    $0.00
     other real property

7.   Interest, dividends, and royalties                                                                                                        $0.00
8.   Unemployment compensation                                                                                                                 $0.00
     Do not enter the amount if you contend that the amount received was a
     benefit under the Social Security Act. Instead, list it here: ...............................................

                                                                                                              $0.00
         For you............................................................................................................................

         For your spouse..............................................................................................................

9.   Pension or retirement income. Do not include any amount received that                                                                     $0.00
     was a benefit under the Social Security Act.

10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act
    or payments received as a victim of a war crime, a crime against humanity,
    or international or domestic terrorism. If necessary, list other sources on a
    separate page and put the total below.




     Total amounts from separate pages, if any.                                                                                   +                    +
11. Calculate your total current monthly income.
    Add lines 2 through 10 for each column.                                                                                                $2,880.00   +                =      $2,880.00
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                           Total current
                                                                                                                                                                           monthly income




Official Form 122A-1                                             Chapter 7 Statement of Your Current Monthly Income                                                                 page 2
                  Case 8-16-74455-ast                             Doc 14             Filed 11/21/16                    Entered 11/21/16 23:03:05



Debtor 1       Anthony                                                  Ross                                      Case number (if known) 8-16-74455
               First Name                  Middle Name                  Last Name


 Part 2:         Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

    12a.                                                                                                                                                                       $2,880.00
            Copy your total current monthly income from line 11....................................................................................................................
                                                                                                                       Copy line 11 here                       12a.

            Multiply by 12 (the number of months in a year).                                                                                                             X       12

    12b.    The result is your annual income for this part of the form.                                                                                         12b.         $34,560.00

13. Calculate the median family income that applies to you. Follow these steps:

    Fill in the state in which you live.                                            New York

    Fill in the number of people in your household.                                        1

                                                                                                                                                                       $49,086.00
    Fill in the median family income for your state and size of household......................................................................................................................
                                                                                                                                                          13.
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.


14. How do the lines compare?

    14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                   Go to Part 3.
    14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                   Go to Part 3 and fill out Form 122A-2.


 Part 3:         Sign Below

      By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


      X    /s/ Anthony Ross                                                                         X
           Anthony Ross, Debtor 1                                                                        Signature of Debtor 2

           Date 11/11/2016                                                                               Date
                MM / DD / YYYY                                                                                    MM / DD / YYYY

      If you checked line 14a, do NOT fill out or file Form 122A-2.

      If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                    Chapter 7 Statement of Your Current Monthly Income                                                                           page 3
